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             AFFIDAVIT OF SPECIAL AGENT BRENDAN CULLEN
   IN SUPPORT OF COMPLAINT AND APPLICATION FOR SEARCH WARRANTS

       I, Brendan Cullen, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Department of Homeland Security (“DHS”), United

States Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations (“HSI”)

assigned to the Boston, Massachusetts Field Office. I have been employed by HSI and its

predecessor, the United States Customs Service, since January 2003. I am currently assigned to

the Darknet/Cryptocurrency Investigations Group. Before my assignment to the Boston Field

Office, I was assigned to the HSI Providence Field Office, HSI Headquarters in Washington, D.C.,

and the HSI Philadelphia Field Office, where I was assigned to several different investigative

groups. I have investigated and assisted other agents in investigating numerous cases involving a

variety of criminal violations including fraud, money laundering, narcotics trafficking, illegal

importation and exportation of goods, and intellectual property theft. I have received on-the-job

training as well as participated in DHS-sponsored training courses on these types of investigations.

My investigations and training have included the use of surveillance techniques and the execution

of search, seizure, and arrest warrants.

       2.      I am currently investigating:

               (a)     MARK AROME OKUO (“OKUO”), also known as Anthony Terry, also

                       known as Mark Robert, also known as Frank Michael; and

               (b)     FLORENCE MWENDE MUSAU (“MUSAU”), also known as Precious

                       Adams, also known as Catherine Muthoki
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for various crimes, including but not limited to: wire fraud, bank fraud, and conspiracy to commit

the same, in violation of Title 18, United States Code, Sections 1343, 1344, and 1349, respectively;

money laundering and conspiracy to commit money laundering, in violation of Title 18, United

States Code, Sections 1956 and 1957, respectively; forgery or false use of a passport, in violation

of Title 18, United States Code, Section 1543; making false statements to a bank, in violation of

Title 18, United States Code, Section 1014; and aggravated identity theft, in violation of Title 18,

United States Code, Section 1028A (collectively, the “Target Offenses”).

       3.      I submit this affidavit in support of a criminal complaint charging OKUO and

MUSAU (collectively, the “Target Subjects”) with conspiracy to commit wire and bank fraud, in

violation of Title 18, United States Code, Section 1349.

       4.      I also submit this affidavit in support of an application for a warrant to search the

residence of OKUO and MUSAU, located at 32 Neponset Street, Apartment 1206, Canton,

Massachusetts, 02021 (the “Subject Premises”), as further described in Attachment A-1, because

there is probable cause to believe that it contains evidence, fruits, and instrumentalities of the

Target Offenses, as further described in Attachment B. As set forth below, there is probable cause

to believe that evidence, fruits, and instrumentalities of the fraud scheme committed by OKUO

and MUSAU will be found where they reside, including on their cellular phones and computers.

       5.      I also submit this affidavit in support of applications for warrants to search a black

2013 Lexus RX 350 with Massachusetts license plate number 1CPR39 and VIN

2T2BK1BA8DC160567 (“Subject Vehicle 1”), as described in Attachment A-2, and a green 2008

Toyota Camry with Massachusetts license plate number 5EA524 and VIN 4T1BK46K98U565866

(“Subject Vehicle 2”), as described in Attachment A-3, because there is probable cause to believe



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that they contain evidence, fruits, and instrumentalities of the Target Offenses, as described in

Attachment B.

       6.       The facts in this affidavit come from my participation in this investigation,

including my personal observations and review of records, interviews conducted by me and by

other law enforcement agents, my training and experience, and information obtained from other

agents and witnesses. In submitting this affidavit, I have not included every fact known to me

about this investigation. Rather, I have included only those facts that I believe are sufficient to

establish probable cause for: (1) the criminal complaint charging OKUO and MUSAU with

conspiracy to commit wire and bank fraud, in violation of Title 18, United States Code, Section

1349; and (2) the search warrants for the Subject Premises and the Subject Vehicles.

             PROBABLE CAUSE TO BELIEVE A CRIME WAS COMMITTED

       A.       The Target Subjects

       7.       OKUO, age 41, resides at the Subject Premises in Canton. From approximately

March 2018 through November 2020, OKUO resided at 43 Wilcock Street, Apartment 2,

Dorchester, Massachusetts (the “OKUO Dorchester address”). OKUO is a citizen of Nigeria.

Photographs of OKUO that were obtained from United States Citizenship and Immigration

Services (“USCIS”)1 and the Massachusetts State Police are below:




       1
          According to records, OKUO entered the United States on a tourist visa in or about 2016.
In or about 2019, USCIS denied a petition to adjust his immigration status based on his alleged
marriage to an American citizen, finding that the marriage was fraudulent and that OKUO lied
during an interview with a USCIS agent. Accordingly, OKUO presently has no legal immigration
status in the United States and is deportable.

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                                   Fig. 1.1, 1.2: Mark Arome OKUO

       8.       MUSAU, age 36, resides at the Subject Premises in Canton with OKUO. MUSAU

is a citizen of Kenya.2 Below is a photograph of MUSAU obtained from USCIS:




                                   Fig. 2: Florence Mwende MUSAU




       2
          In or about 2018, MUSAU entered the United States on a tourist visa. In or about 2020,
an American citizen residing in Dallas, Texas filed a petition for adjustment of status on behalf of
MUSAU based on their alleged marriage, even though MUSAU was living in Massachusetts. The
petition for adjustment of status remains pending.

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         B.       Background of the Scheme

         9.       As set forth below, between approximately 2018 and the present, OKUO and

MUSAU, together with others known and unknown, engaged in a scheme to defraud victims via

online romance scams, and MUSAU also engaged in a scheme to fraudulently obtain pandemic

unemployment benefits. As part of the schemes, OKUO and MUSAU used aliases and fake

passports (as well as their own names) to open bank accounts in and around Boston in order to

collect and launder the proceeds of the fraud, and then rapidly executed large cash withdrawals

from the accounts, generally structured in amounts less than $10,000, in an effort to evade

detection.3

         10.      Over the course of the scheme, at least $1.3 million in fraud proceeds was

transferred or deposited into accounts in the names of OKUO, MUSAU, and the aliases set forth

below.

         C.       The Romance Scams

         11.      A “romance scam” generally involves perpetrators creating fictitious profiles on

online dating or social websites, gaining the trust of potential victims, and then directing those

victims to transfer money under false pretenses.

                                              Victim-1

         12.      In or about December 2018, Victim-1, who is a resident of Illinois, met an

individual, Co-Conspirator-1 (“CC-1”), through an internet dating website. CC-1 told Victim-1

that he was a member of the United States Army serving in the Middle East. As their online



         3
         Federal law requires financial institutions to report currency transactions over $10,000
conducted by, or on behalf of, one person, as well as multiple currency transactions that aggregate
to be over $10,000 in a single day. See 31 U.S.C. §§ 103.22, 5313.

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relationship developed, CC-1 discussed with Victim-1 his desire to obtain early military retirement

benefits and return to the United States to marry her.

       13.     To verify his purported identity, CC-1 sent Victim-1 a photograph of a United

States passport in his name and photographs of a man wearing a military uniform. Based on a

review of records, I have determined that no United States passport has been issued to a person in

the name of CC-1 with that passport number.

       14.     Later, a second individual, Co-Conspirator-2 (“CC-2”), contacted Victim-1 and

told her that he was CC-1’s supervisor and a military general. CC-2 advised Victim-1 that funds

were necessary for CC-1 to apply for his military retirement benefits.

       15.     From in or about December 2018 until June 2019, CC-1, CC-2, and others

instructed Victim-1 to wire funds to various bank accounts owned by purported “friends” of CC-

1. In doing so, they provided Victim-1 with wiring instructions including account names, account

numbers, and routing numbers. CC-1, CC-2, and others provided Victim-1 with a variety of

justifications for the requested funds, including: additional administrative costs to obtain early

retirement benefits for CC-1; security for CC-1; and transportation expenses for CC-1.

       16.     For example, on or about February 14, 2019, CC-2 notified Victim-1 that CC-1’s

military convoy had purportedly been attacked. To ensure CC-1’s safe travel, CC-2 requested that

Victim-1 send $15,000 to help pay for additional security. CC-2 instructed Victim-1 to send the

funds to an account in the name of “Anthony Terry” with an account number ending in -7420 at

Citizens Bank in Boston, Massachusetts. Victim-1 complied.

       17.     At the instruction of CC-1, CC-2, and others, Victim-1 wired at least $137,000 to

Massachusetts bank accounts, as set forth in the table below, based on the understanding that the

funds would assist CC-1 in returning to the United States.

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 Date               Amount          Bank                 Account Name               Account #

 2/15/2019          $15,000         Citizens Bank        Anthony Terry              -7420

 3/13/2019          $25,000         Bank of America      Catherine Muthoki          -2678

 3/22/2019          $15,000         Bank of America      Florence Musau             -8111

 4/16/2019          $22,000         TD Bank              Florence Musau             -2094

 5/13/2019          $20,000         TD Bank              Florence Musau             -2094

 5/13/2019          $20,000         Santander Bank       Catherine Muthoki          -0257

 5/28/2019          $20,000         Santander Bank       Catherine Muthoki          -0257


                                              Victim-2

        18.   In or about February 2020, Victim-2, who is a resident of Illinois, met an individual,

Co-Conspirator-3 (“CC-3”), on a social media application, and they developed an online

relationship. CC-3 told Victim-2 that he was a member of the United States Army stationed in

Africa, and he advised her that he wanted to return home from the military to live with her.

According to CC-3, however, his “commander” required a payment in order for him to return

home.

        19.   From in or about March 2020 through in or about June 2020, CC-3 requested that

Victim-2 wire money to pay off his commander, and he provided Victim-2 with various bank

accounts and wiring instructions.

        20.   On or about May 18, 2020, CC-3 instructed Victim-2 to send $8,000 to a Bank of

America account in Massachusetts, with an account number ending in -9066, in the name of

“Precious Adams.” Victim-2 complied.



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                                            Victim-3

       21.     In or about December 2019, Victim-3, who is a resident of Georgia, met an

individual, Co-Conspirator-4 (“CC-4”), on a social media application, and they developed an

online relationship. CC-4 told Victim-3 that he resided in Kuwait after retiring from the oil

industry.

       22.     CC-4 professed his love to Victim-3 and told her that he wanted to return to the

United States, where he said he previously lived. CC-4 told Victim-3 that he did not have enough

money to fund his return, and he requested that she send him money to do so. CC-4 provided

Victim-3 with wiring instructions for bank accounts of purported friends and relatives to which he

directed Victim-3 to send the funds.

       23.     On or about January 8, 2020, CC-4 instructed Victim-3 to send $4,700 to a

Santander Bank account in Massachusetts, with an account number ending in -1963, in the name

of “Anthony Terry.” Victim-3 complied.

                                            Victim-4

       24.     In or about January 2020, Victim-4, who is a resident of Ohio, met an individual,

Co-Conspirator-5 (“CC-5”), on a social media application, and they developed an online

relationship. CC-5 told Victim-4 that he was a member of the military stationed in the Middle

East, and he advised her that he wanted to leave the military and return to the United States. CC-

5 advised Victim-4 that in order for him to return to the United States, however, his supervisor

required him to find and fund a replacement soldier.

       25.     Shortly thereafter, Victim-4 was contacted by an individual, Co-Conspirator-6

(“CC-6”), purporting to be a military general and CC-5’s supervisor. CC-6 advised Victim-4 that



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that the family of a replacement soldier required financial support for the replacement soldier to

take CC-5’s place in the military.

       26.     CC-6 instructed Victim-4 to send $37,500 to the Santander Bank account in

Massachusetts, ending in -1963, in the name of “Anthony Terry.” Victim-4 complied.

                                            Victim-5

       27.     In or about January 2020, Victim-5, who is a resident of California, met an

individual, Co-Conspirator-7 (“CC-7”), on a social media application, and they developed an

online relationship. CC-7 told Victim-5 that she was working at a United Nations refugee camp

in the Middle East and advised him that she wanted to leave the camp to start a new life with him

in the United States. Further, CC-7 advised Victim-5 that she had a significant amount of

cryptocurrency that was inaccessible to her while in the refugee camp. She requested financial

support from Victim-5 for the purposes of obtaining a United States visa, traveling to the United

States, and accessing her cryptocurrency to share with him.

       28.     CC-7 informed Victim-5 that a purported United States citizen named Precious

Adams, who was doing missionary work in the same refugee camp, would be able to receive the

funds on behalf of CC-7. CC-7 instructed Victim-5 to send $7,800 to a Citizens Bank account in

Massachusetts, with an account number ending in -8439, belonging to Adams. Victim-5 complied.

       D.      The Pandemic Unemployment Fraud

       29.     On or about March 27, 2020, the Coronavirus Aid, Relief, and Economic Security

Act (“CARES Act”) was signed into law. The CARES Act created a new temporary federal

unemployment insurance program for pandemic unemployment assistance (“PUA”).                PUA

provided unemployment benefits for individuals who are not eligible for other types of

unemployment (e.g., self-employed and gig-economy workers, independent contractors, etc.).

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       30.     The Massachusetts Department of Unemployment Assistance (“DUA”)

administers and manages the PUA program in the Commonwealth of Massachusetts. As part of

the PUA application process with the DUA, a claimant must provide their first and last name,

social security number, date of birth, and home address. In addition, the claimant must select a

preferred payment method of direct deposit or a debit card. PUA claims submitted to the DUA

are processed via a server in Colorado. I understand that PUA claims are frequently submitted via

the internet, and that individuals who either submit PUA applications to the DUA or receive PUA

benefits cause wires to be transmitted to and/or from this Colorado-based server.

       31.     As further detailed below, MUSAU used a fake passport to open a bank account

that received proceeds of pandemic unemployment fraud, including benefits stemming from PUA

claims in the name of a woman (“Victim-6”) and a man (“Victim-7”), both of whom work in

Massachusetts, and neither of whom applied for such benefits.

                                            Victim-6

       32.     On or about May 15, 2020, a PUA claim was submitted to the DUA via the internet

in the name of Victim-6 using her personal identifiable information, including her date of birth

and social security number.

       33.     On or about May 20, 2020, DUA deposited approximately $10,820 in PUA funds,

via 10 separate deposits, to the Citizens Bank account in Massachusetts, with an account number

ending in -8439, in the name of Precious Adams.

       34.     I am aware, based on an interview of Victim-6, that she is employed full-time in

Massachusetts, did not submit a PUA claim, and did not authorize anyone to submit a PUA claim

on her behalf. Victim-6 does not know anyone by the name of Precious Adams or Florence

MUSAU.

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                                            Victim-7

       35.     On or about May 30, 2020, a PUA claim was submitted to DUA via the internet in

the name of Victim-7 using his personal identifiable information, including his date of birth and

social security number.

       36.     On or about June 3, 2020, DUA deposited approximately $9,096 in PUA funds, via

11 separate deposits, into the same Citizens Bank account in the name of Precious Adams.

       37.     I am aware, based on an interview of Victim-7, that he did not submit a PUA claim

or authorize anyone to file a PUA claim on his behalf, and he does not know anyone by the name

of Precious Adams or Florence MUSAU.4

       E.      Fraudulent Bank Accounts Opened by OKUO and MUSAU

       38.     As set forth in further detail below, OKUO and MUSAU used fake passports to

open Massachusetts bank accounts in the names of the aliases used in the romance and pandemic

unemployment scams described above, and in the names other aliases.5 Those bank accounts

received large wire transfers and deposits, including proceeds of the romance and pandemic

unemployment scams. OKUO and MUSAU then quickly withdrew the fraudulent proceeds in

structured amounts, thereby maximizing withdrawals before the funds could be recalled or the

frauds could be detected. Based on my training and experience, this pattern is consistent with a

strategy frequently employed by perpetrators of fraud schemes in order to evade detection.



       4
        In or about May 2020, the -8439 Citizens Bank account in the name of Precious Adams
received approximately $8,340 in additional PUA payments from the Washington State
Employment Security Department in the name of a third claimant.
       5
          MUSAU and OKUO also opened bank accounts in their own names, using the same
identifying information (e.g., addresses and e-mail accounts) as they used to open the accounts in
the names of aliases.

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       39.     For example, on or about January 16, 2019, OKUO used the alias Anthony Terry

to open a Citizens bank account ending in -7420 (the “Citizens Terry account”). The address listed

on statements for the Citizens Terry account was the OKUO Dorchester address. To open the

account, OKUO provided the bank with a Nigerian passport in the name of Terry, with a passport

number of AXXXXXXXX and a date of birth of 02/07/1980. An image of that passport, which OKUO

also provided to other banks in opening additional accounts in the name of Terry, is below:




                                      Fig. 3: Anthony Terry
                                          fake passport



       40.     I am aware, based on a review of records, that no individual using the name

Anthony Terry with that date of birth and passport number has entered the United States. The

photograph on the fake Terry passport appears to be OKUO.




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       41.     From in or about February 2019 through May 2019, the Citizens Terry account

received more than $76,000 in wire transfers and deposits. OKUO quickly depleted those funds,

principally through structured cash withdrawals, and he abandoned the account in May 2019 with

a minimal balance.

       42.     For example, on or about February 15, 2019, the Citizens Terry account received

$15,000 in romance scam proceeds from Victim-1. Shortly thereafter, OKUO withdrew those

funds from the account in a series of structured transactions. As one example, on or about February

17, 2019—two days after the Victim-1 wire transfer—OKUO withdrew approximately $5,000

from the account at a bank branch in Dorchester. The following are bank surveillance photographs

of OKUO withdrawing the funds:




                               Fig. 4.1, 4.2: OKUO withdrawing $5,000
                                 from Citizens Terry account two days
                                  after the wire transfer from Victim-1

       43.     On or about the same day that OKUO opened the Citizens Terry account, he used

the same fake Nigerian passport to open a Bank of America account ending in -3250 (the “Bank

of America Terry account”) in Roxbury, Massachusetts. The address listed on the Bank of

America Terry account was the OKUO Dorchester address.
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       44.     In opening the Bank of America Terry account, OKUO provided the bank with the

e-mail address aroomyk@hotmail.com (the “OKUO Hotmail address”), which is the same e-mail

address that OKUO provided to banks in opening accounts in his real name, such as an East Boston

Savings Bank account ending in -6161 (the “EBSB OKUO account”).

       45.     From approximately January through August 2019, the Bank of America Terry

account received more than $100,000 in wire transfers and deposits. Using his alias of Terry,

OKUO rapidly depleted the funds from this account, principally through structured cash

withdrawals. For example, OKUO withdrew $6,000 on April 17, 2019; $6,000 the following day;

and $5,000 four days later.

       46.     In or about September 2019, after OKUO had withdrawn all of the funds, the Bank

of America Terry account was closed with no remaining balance.

       47.     That same month, OKUO used the same fake Nigerian passport in the name of

Terry to open a Santander Bank account ending in -1963 (the “Santander Terry account”) in

Roxbury, Massachusetts. In opening the Santander Terry account, OKUO provided the bank with

the OKUO Dorchester address and the OKUO Hotmail address.

       48.     From in or about September 2019 through March 2020, the Santander Terry

account received approximately $91,000 in wire transfers and deposits, including proceeds of the

romance scams discussed above, and OKUO quickly depleted the funds through structured cash

withdrawals.

       49.     For example, on or about January 8, 2020, the Santander Terry account received a

$4,700 wire transfer from Victim-3. On or about the same day, OKUO withdrew approximately

$4,100 of those romance scam proceeds in three separate transactions in and around Boston. The



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following day, OKUO withdrew an additional $560 of the romance scam proceeds via an ATM

transaction.

       50.     On or about January 23, 2020, the Santander Terry account received a $37,500 wire

transfer from Victim-4. On or about the same day, OKUO withdrew approximately $6,500 of

those romance scam proceeds from a Santander branch location in Boston.

       51.     Shortly thereafter, before OKUO could withdraw any additional funds, Santander

restricted withdrawals from this account because Victim-4’s bank reported the transfer as

potentially fraudulent. After the Santander Terry account was frozen, OKUO incurred four ATM

transaction fees in February 2020 to check the status and balance of the account. On or about

March 23, 2020, Santander confirmed that the transfer from Victim-4 was the result of fraud and

returned the remaining funds in the Santander Terry account (approximately $33,000) to Victim-

4’s bank. Following this transfer, OKUO abandoned the account and did not contact Santander to

inquire why $33,000 had been returned to Victim-4.

       52.     On or about January 11, 2020 (the same month that the Santander Terry Account

was frozen), OKUO used the same fake Nigerian passport in the name of Terry to open a TD Bank

account ending in -5401 (the “TD Terry account”) in West Roxbury, Massachusetts. In opening

the TD Terry account, OKUO provided the bank with the OKUO Dorchester address and the

OKUO Hotmail address.

       53.     Below are surveillance photographs of OKUO opening the TD Terry account on or

about January 11, 2020 using the fake Terry passport:




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                                      Fig. 5.1, 5.2: OKUO
                                    opening TD Terry account


       54.    In or about February 2020, this account received more than $26,000 in wire

transfers and deposits. Shortly after the transfers, OKUO rapidly executed structured withdrawals

in and around Boston. OKUO was captured by surveillance cameras on numerous occasions

withdrawing funds from the TD Terry account, including several branch withdrawals requiring

OKUO to present the fake Terry passport as identification.

       55.    For example, on or about February 3, 2020, the TD Terry account received a $2,500

wire transfer. On or about the same day, a TD surveillance camera captured OKUO, wearing an

“Arsenal” soccer jacket, making an ATM withdrawal from the TD Terry account in Roslindale,

Massachusetts. Below, a photograph of that withdrawal is compared to a photograph of OKUO

conducting an ATM transaction in the EBSB OKUO account (an account in his own name) while

wearing the same jacket on April 20, 2020 in Boston:




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                  Fig. 6.1: OKUO withdrawal               Fig. 6.2: OKUO withdrawal
                    from TD Terry account                 from OKUO EBSB account


       56.     In reviewing dozens of photographs of OKUO conducting transactions in the TD

Terry account and in the OKUO EBSB account, I have identified numerous similar instances of

him wearing the same clothing and hats while withdrawing funds from both accounts.

       57.     On or about February 11, 2020, the TD Terry account received a wire transfer of

approximately $2,034. On or about the same day, OKUO withdrew $500 from the TD Terry

account at a drive-through ATM in Roslindale, as well as $1,500 inside the same Roslindale branch

using the Terry passport:




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                                 Fig. 7.1, 7.2: OKUO withdrawals from
                                 TD Terry account on February 11, 2020



       58.    Later in February 2020, OKUO executed several large structured cash withdrawals

from a TD branch in Roslindale. After a deposit of approximately $19,500 in the TD Terry account

on February 13, 2020, OKUO withdrew $8,000 from the TD Terry account on February 14, 2020,

and an additional $6,000 on February 18, 2020, again using the fake passport:




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                    Fig. 8.1: OKUO withdrawal                Fig. 8.2: OKUO withdrawal
                     from TD Terry account on                 from TD Terry account on
                         February 14, 2020                        February 18, 2020


       59.     OKUO abandoned the TD Terry account in March 2020—with a balance of more

than $5,000—after the wire transfer from Victim-4 to the Santander Terry account was discovered

to be fraudulent.

       60.     MUSAU likewise used an alias, Precious Adams, to open bank accounts to launder

and access the proceeds of fraudulent schemes, including the romance scams and pandemic

unemployment fraud discussed above.

       61.     For example, on or about June 8, 2020, MUSAU used the alias Precious Adams to

open a TD Bank account ending in -6293 (the “TD Adams account”) in Boston, Massachusetts.

To open the account, MUSAU provided the bank with a South Africa passport in the name of

Adams, with a passport number of AXXXXXXXX and a date of birth of 09/18/1989. An image of

that passport, which MUSAU also provided to other banks in opening accounts in the name of

Adams, is below:




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                                      Fig. 9: Precious
                                    Adams fake passport


       62.    I am aware, based on a review of records, that no individual using the name

Precious Adams with that date of birth and passport number has entered the United States. The

photograph on the fake Adams passport appears to be MUSAU.

       63.    From in or about June 2020 to November 2020, the TD Adams account received

more than $39,000 in wire transfers and deposits. Shortly after those funds were received,

MUSAU executed structured withdrawals and abandoned the account.

       64.    For example, on or about June 15, 2020, bank security cameras captured MUSAU

depositing a $24,363 cashier’s check—payable to Adams—at a branch location in Newton,

Massachusetts:




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                                Fig. 10: MUSAU depositing check as
                                 Precious Adams on June 15, 2020

       65.    On or about June 17, 2020, MUSAU withdrew $4,500 from the TD Adams account,

and the bank recorded the Adams passport number on the withdrawal receipt:




                               Fig. 11: Receipt of withdrawal from
                                 TD Adams account by MUSAU


       66.    Further, MUSAU was captured by surveillance cameras executing ATM

withdrawals from the TD Adams account on several occasions, including on June 21, 2020 and on
                                            21
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August 27, 2020. The red car driven by MUSAU during the August 27, 2020 withdrawal had a

license plate of 1CPR39, and I have witnessed that license plate now affixed to a black Lexus SUV

(Subject Vehicle 1) parked outside of the Subject Premises (the residence of MUSAU and OKUO)

as recently as March 2021.




          Fig. 12.1: June 21, 2020                         Fig. 12.2: August 27, 2020
         withdrawal from TD Adams                          withdrawal from TD Adams
             account by MUSAU                                  account by MUSAU



       67.    OKUO also withdrew funds from the TD Adams account. For example, on or about

October 2, 2020, OKUO executed an ATM withdrawal from this account in Roslindale, and one

day later, he executed another withdrawal at a drive-up ATM in Roslindale. Based on a review of

video, the vehicle driven by OKUO during the October 3, 2020 transaction appears to be Subject

Vehicle 2:




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             Fig. 13.1: October 2, 2020              Fig. 13.2: October 3, 2020
             withdrawal from TD Adams                withdrawal from TD Adams
                 account by OKUO                         account by OKUO

       68.     In or about November 2020, MUSAU abandoned the TD Adams account with a

balance of $0.96.

       69.     Similarly, on or about September 13, 2019, MUSAU used the same fake South

Africa passport in the name of Adams, but with a photograph appearing to be MUSAU, to open a

Citizens Bank account ending in -8439 (the “Citizens Adams account”). To open the account,

MUSAU provided the bank with the OKUO Dorchester address and the OKUO Hotmail address.

       70.     From in or about September 2019 to June 2020, this account received more than

$57,000 in wire transfers and deposits, including romance scam proceeds from Victim-5 and

proceeds from pandemic unemployment fraud. Shortly after these transfers and deposits, MUSAU

quickly withdrew funds from the account in structured amounts.

       71.     For example, on or about February 25, 2020, the Citizens Adams account received

$7,800 in romance scam proceeds from Victim-5. On or about February 26 and 27, 2020,

MUSAU—posing as Adams—withdrew $7,500 in four separate branch and ATM transactions.

       72.     On or about May 20, 2020, approximately $10,820 in benefits from Victim-6’s

fraudulent PUA claim was deposited in the Citizens Adams account. On or about the same day,

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MUSAU used the Adams passport to withdraw $8,000 from the Citizens Adams account at a

branch in Roslindale:




                              Fig. 14.1, 14.2: May 20, 2020 withdrawal
                              from Citizens Adams account by MUSAU



       73.    On or about June 3, 2020, approximately $9,096 in benefits from Victim-7’s

fraudulent PUA claim was deposited in the Citizens Adams account. On or about the same day

(wearing the same shirt as she did during the May 20 withdrawal), MUSAU used the Adams

passport to withdraw $8,500 from the same Citizens Bank branch:




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                               Fig. 15.1, 15.2: June 3, 2020 withdrawal
                               from Citizens Adams account by MUSAU


       74.    As yet another example, on or about September 21, 2019, MUSAU used the same

fake South Africa passport in the name of Adams to open a Santander Bank account ending in -

4817 (the “Santander Adams account”). To open the account, MUSAU provided the bank with

the OKUO Dorchester address.

       75.    From in or about January 2020 to April 2020, the Santander Adams account

received more than $33,000 in wire transfers and deposits. Shortly after these wire transfers,

MUSAU quickly withdrew funds from this account in structured amounts.

       76.    For example, on or about February 24, 2020, the account received a $5,900 wire

transfer, and over the next two days, MUSAU withdrew $5,600 in three separate transactions at

Santander locations in and around Boston.

       77.    Further, on or about March 9 and 10, 2020, the account received $23,000 in wire

transfers, and the following two days, MUSAU withdrew more than $11,000 in five separate

transactions in and around Boston.

       78.    Thereafter, on or about May 4, 2020, MUSAU used the same fake South Africa
                                             25
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passport to open a Bank of America account ending in -9066 (the “Bank of America Adams

account”) in Newton, Massachusetts. Posing as Adams, MUSAU provided the bank with the same

address (the OKUO Dorchester address) that she used in opening multiple Bank of America

accounts in her own name:




             Fig. 16.1: Address for   Fig. 16.2: Address for     Fig. 16.3: Address for
               Bank of America          MUSAU Bank of              MUSAU Bank of
                Adams account         America account -6331      America account -4554

       79.       In or about May 2020, the Bank of America Adams account received more than

$22,000 in wire transfers and deposits, including proceeds of the romance scams discussed above.

Shortly thereafter, MUSAU quickly withdrew funds in structured amounts.

       80.       For example, in or about May 2020, CC-3 told Victim-2 that his “commander”

would need to be paid off for him to leave the military and return to the United States. CC-3

instructed Victim-2 to send $8,000 to an account in the name of Precious Adams:




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                                       Fig. 17.1, 17.2: Messages
                                      between Victim-2 and CC-3


       81.      On or about May 18, 2020, the Bank of America Adams account received the

$8,000 wire transfer from Victim-2. On or about the same day, MUSAU withdrew $7,800 of those

romance scam proceeds in six separate transactions in and around Boston. On or about May 29,

2020, MUSAU withdrew the remaining funds in the Bank of America Adams account and

abandoned it.

       82.      As a final example, on or about May 30, 2019, MUSAU used the same fake South

Africa passport in the name of Adams to open an East Boston Savings Bank account ending in -

8503 (the “EBSB Adams account”) in Boston, Massachusetts. In opening the account, MUSAU

provided the bank with the OKUO Dorchester address and the OKUO Hotmail address.

       83.      In or about September 2019, the EBSB Adams account received more than $51,000

in wire transfers and deposits. Shortly after these wire transfers, MUSAU quickly withdrew funds

from the account in structured amounts.



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       84.    For example, on or about September 10, 2019, the EBSB Adams account received

a wire transfer of approximately $10,100, and during the following three days, MUSAU withdrew

$10,000 at four different branch and ATM locations in and around Boston. On or about September

16, 2019, the EBSB Adams account received a wire transfer, from the same woman, of

approximately $17,000, and during the following two days, MUSAU withdrew $17,000 in two

separate branch transactions in and around Boston. Finally, on or about September 24, 2019, the

EBSB Adams account received a $20,500 wire transfer from the same woman, and during the

following two days, MUSAU withdrew more than $17,000 in several ATM and branch

transactions in and around Boston.

       85.    In or about October 2019, MUSAU abandoned the EBSB Adams account with a

minimal balance.

       86.    MUSAU also used the alias Catherine Muthoki in opening bank accounts to launder

and access the proceeds of fraudulent schemes.

       87.    For example, on or about April 6, 2019, MUSAU used the alias Catherine Muthoki

to open a Santander Bank account ending in -0257 (the “Santander Muthoki account”). To open

the account, MUSAU used the OKUO Hotmail address and the OKUO Dorchester address, and

she provided a Great Britain passport in the name of Muthoki, with a passport number of

973615249 and a date of birth of 10/03/1989. I am aware, based on a review of records, that no

individual using the name Catherine Muthoki with that date of birth and passport number has

entered the United States. An image of the fake Muthoki passport is below, compared to a

photograph that MUSAU used in applying for a United States tourist visa in or about 2017:




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                       Fig. 18.1: Catherine                 Fig. 18.2: Photograph from
                       Muthoki fake passport                 MUSAU visa application



       88.    From in or about April 2019 to approximately June 2019, this account received

more than $50,000 in wire transfers and deposits, and MUSAU quickly depleted the funds through

structured cash withdrawals.

       89.    For example, on or about May 13, 2019, the Santander Muthoki account received

$20,000 in romance scam proceeds from Victim-1. Beginning approximately 12 hours later, and

over the following week, MUSAU withdrew $16,200 during five separate teller transactions, and

she withdrew an additional $3,400 in five separate ATM withdrawals, for a total of $19,600.

       90.    Further, on or about May 28, 2019, the Santander Muthoki account received another

$20,000 wire transfer from Victim-1. Beginning approximately 12 hours later, and over the

following week, MUSAU withdrew $16,000 during three separate teller transactions and an

additional $3,600 during four separate ATM withdrawals, for a total of $19,600.

       91.    Accordingly, of the $40,000 in romance scam proceeds wired from Victim-1 to the

Santander Muthoki account in May 2019, MUSAU withdrew $39,200 in seventeen separate

structured transactions in and around Boston.


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       92.    In or about July 2019, MUSAU abandoned the Santander Adams account.

       93.    On or about May 6, 2019, MUSAU used the same fake passport in the name of

Muthoki to open a bank account ending in -4684 at TD Bank (the “TD Muthoki account”). In

opening the account, MUSAU used the OKUO Hotmail address and provided the bank with the

OKUO Dorchester address—the same address that she used in opening multiple other TD Bank

accounts in her own name:6




             Fig. 19.1: Address           Fig. 19.2: Address for       Fig. 19.3: Address for
              for TD Muthoki                MUSAU TD Bank                MUSAU TD Bank
                   account                    account -2094                account -9103

       94.    From in or about May 2019 through September 2019, this account received more

than $15,000 in wire transfers and deposits, and MUSAU quickly withdrew the funds in structured

amounts.

       95.    For example, on or about July 22, 2019, the TD Muthoki account received

approximately $9,550 in wire transfers. Starting the following day and during the ensuing week,

MUSAU withdrew approximately $9,400 in seven separate teller and ATM withdrawals, including




       6
        While the address for the TD Muthoki account was listed as “Wilcox St.” rather than
“Wilcock St.”, I believe this is a typographical error.

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a $5,000 withdrawal on July 23 during which MUSAU presented the bank with the Muthoki

passport as identification, reflected on the withdrawal receipt:




                                     Fig. 20: MUSAU withdrawal
                                      from TD Muthoki Account

       96.     OKUO has also used the aliases Mark Robert and Frank Michael in opening bank

accounts to withdraw and launder funds that, based on my training and experience and this

investigation, I believe are the proceeds of fraudulent schemes.

       97.     For example, on or about March 24, 2017, OKUO used the alias Mark Robert to

open a Bank of America account ending in -0389 (the “Bank of America Robert account”). To

open the account, OKUO provided the bank with a Nigerian passport in the name of Robert, with

a passport number of AXXXXXXXX and a date of birth of 06/06/1979 (the same date of birth as

OKUO). I am aware, based on a review of records, that no individual using the name of Mark

Robert with that date of birth and passport number has entered the United States.

       98.     From in or about April 2017 through June 2017, this account received more than

$149,000 in wire transfers and deposits, and after receiving those transfers and deposits, OKUO

quickly withdrew the funds in structured transactions. For example, on or about May 18, 2017,

this account received a $45,000 wire transfer from an account in the name of a Colorado woman.

Over the following week, OKUO withdrew approximately $44,000 in more than 10 separate teller

and ATM withdrawals, including on or about May 19, 2017 at a Bank of America branch in
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Roxbury, where he inadvertently added “Okuo” to his signature of “Mark Robert” on the

withdrawal receipt:




                                   Fig. 21.1, 21.2: OKUO withdrawal
                                 from Bank of America Robert account



       99.    On or about May 30, 2017, the Bank of America Robert account received a $55,300

wire transfer from the same account. Beginning the following day and during the week that

followed, OKUO withdrew approximately $50,000 in more than 10 separate teller and ATM

withdrawals, including on or about June 8, 2017 at the same Bank of America branch in Roxbury:




                                 Fig. 22: OKUO withdrawal from
                                 Bank of America Robert account


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       100.    Likewise, on or about January 18, 2017, OKUO used the same fake passport in the

name of Robert to open a savings account ending in -9651 and a checking account ending in -0539

(collectively, the “Santander Robert accounts”) at a Santander Bank in Massachusetts. In opening

the Santander Robert accounts, OKUO provided the bank with the same telephone number that he

has listed on immigration records.      OKUO also inadvertently signed the account opening

documents in the name of Mark Robert as “OKUO”:




                                  Fig. 23: OKUO’s signature on documents
                                     opening Santander Robert accounts



       101.    From approximately January 2017 through November 2017, the Santander Robert

accounts received approximately $27,000 in wire transfers and deposits, and shortly after receiving

these wire transfers, OKUO rapidly withdrew the funds via structured cash withdrawals.

       102.    On or about October 27, 2017, OKUO used the alias Frank Michael to open a Bank

of America account ending in -5071 (the “Bank of America Michael account”). To open the

account, OKUO provided the bank with a Nigerian passport in the name of Michael, with a

passport number of AXXXXXXXX and a date of birth of 06/06/1979 (the same date of birth as OKUO

and the alias of Mark Robert). I am aware, based on a review of records, that no individual using

the name Frank Michael with that date of birth and passport number has entered the United States.

Below is a surveillance photograph of OKUO opening the account as Michael, accompanied by a

Bank of America employee, at a branch location in Dorchester:

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                              Fig. 24: OKUO opening Bank of America
                                         Michael account



       103.   From about October 2017 to December 2017, the Bank of America Michael account

received approximately $28,000 in wire transfers and deposits, and shortly after receiving those

transfers, OKUO rapidly withdrew the funds via structured cash withdrawals. For example, on or

about December 27, 2017, the Bank of America Michael account received approximately $11,750

in wire transfers and credits. Over the following two days, OKUO withdrew $11,500 in multiple

structured transactions at branches and ATMs, including an ATM withdrawal on or about

December 29, 2017 in Roxbury:




                                Fig. 25: OKUO withdrawal from Bank of
                                        America Michael account


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       104.   In addition to using accounts in the names of aliases, MUSAU also used bank

accounts in her own name in furtherance of fraudulent schemes. For example, on or about

November 6, 2018, MUSAU opened a TD Bank account ending in -2094 using her own Kenyan

passport with a passport number of A2079021. From approximately November 2018 through May

2020, this account received more than $107,000 in wire transfers and deposits, and shortly

thereafter, MUSAU quickly withdrew funds from her account in structured amounts.

       105.   As one example, on or about April 16, 2019, MUSAU’s TD Bank account received

$22,000 in romance scam proceeds from Victim-1. Starting the following day, MUSAU withdrew

$20,500 in four separate structured withdrawals, and an additional $1,000 in two ATM

withdrawals, providing her Kenyan passport and United States visa as identification:




                                  Fig. 26.1-26.4: MUSAU structured
                                 withdrawals from TD account -2094
                                after wire from romance scam Victim-1

       106.   Similarly, on or about May 13, 2019, MUSAU’s TD Bank account received an

additional $20,000 in romance scam proceeds from Victim-1. Starting the following day, MUSAU

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quickly withdrew $19,000 in five separate structured teller withdrawals, providing her Kenyan

passport and/or United States visa as identification each time.

    PROBABLE CAUSE TO BELIEVE THE SUBJECT PREMISES AND SUBJECT
     VEHICLES CONTAIN EVIDENCE, FRUITS, AND INSTRUMENTALITIES

       107.     I also have probable cause to believe that (a) the Subject Premises described in

Attachment A-1, and (b) the Subject Vehicles 1 and 2 described in Attachments A-2 and A-3,

respectively, contain fruits, evidence, and instrumentalities of the Target Offenses, as described in

Attachment B.

       A.       The Subject Premises

       108.     Based on a review of utility and bank records, MUSAU and OKUO began residing

at the Subject Premises in or about November 2020. For example, on or about November 1, 2020,

MUSAU established an account with utility provider Eversource for the Subject Premises, and as

of March 2021, that account is active.7 As recently as February 2021, the Subject Premises was

the address listed on several of MUSAU’s personal bank accounts, including EBSB accounts

ending in -6555 and -5795.8 Also, in or about December 2020, the “Canton Estates” apartment

complex where the Subject Premises is located received a $1,794 payment for rent from one of

OKUO’s personal bank accounts, the EBSB OKUO account. Further, according to a review of

records, OKUO has an active subscription for high-speed internet services at the Subject Premises.

       109.     I have also confirmed that MUSAU and OKUO reside at the Subject Premises



       7
        In registering service for the Subject Premises with Eversource, MUSAU provided her
known telephone number of 857-269-8461.
       8
        The apartment number listed on the statements for MUSAU’s personal bank account is
“206,” not “1206,” but I believe that to be a typographical error because the apartment complex
where MUSAU resides does not appear to have an apartment number 206.

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based on physical surveillance. For example, on or about January 31, 2021 at approximately 9:20

PM, I observed OKUO depart a Bank of America ATM in Canton and enter Subject Vehicle 1.

OKUO drove directly to the Subject Premises and parked Subject Vehicle 1 outside. On or about

February 1, 2021 at approximately 1:00 AM, I returned to the Subject Premises and observed the

car being driven by OKUO earlier in the evening, Subject Vehicle 1, parked outside the Subject

Premises, next to Subject Vehicle 2.

       110.    Based on my training and experience, I know that locations occupied by a target

often contain evidence that will aid in establishing the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the government to establish and prove

each element or alternatively, to exclude the innocent from further suspicion. Accordingly, I

believe that it is likely that the Subject Premises, the residence of OKUO and MUSAU, will contain

evidence of the Target Offenses, including without limitation clothing matching clothing worn in

surveillance images and videos; passports and other identification documents in the name of

OKUO, Terry, Robert, Michael, MUSAU, Adams, Muthoki, and any other aliases used to open

bank accounts; passport stamps or other materials used to create counterfeit passports and other

identification documents; bank account opening documents, monthly statements, debit cards,

ATM receipts, and other banking materials in the names of OKUO, Terry, Robert, Michael,

MUSAU, Adams, Muthoki, and any other aliases; ledgers and passwords associated with the

fraudulent accounts; computers and telephones used to communicate with co-conspirators and

victims; and cash.

       111.    Although a number of months have passed since some of the bank accounts

discussed above have been active, I believe that evidence of the Target Offenses will nevertheless

be found at the Subject Premises. For example, as discussed above, bank surveillance photographs

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show OKUO and MUSAU wearing the same clothing in executing transactions in the fraudulent

accounts, and based on my training and experience, people tend to keep clothing for many years

and not discard it.

       112.    As discussed below, I also expect that cellular phones and/or computers owned and

used by OKUO and MUSAU will contain evidence of the Target Offenses, and in my experience,

cellular phones and computers are typically found where targets reside. Further, targets tend not

to discard computers and cellular phones in my experience, and even if they do, targets frequently

“backup” their computers and cellular phones to new devices, the cloud, or external hard drives,

which may be found at the Subject Premises.

       113.    Based on my training and experience, individuals who perpetrate fraudulent

schemes and/or launder the proceeds also keep ledgers of proceeds, similar to drug traffickers, that

often are found where they reside.

       B.      The Subject Vehicles

       114.    Based on my training, experience, and information obtained from other law

enforcement agents, I understand that individuals who use fraudulent passports to access the

proceeds of romance scams and other fraudulent schemes commonly store, among other things,

fake identification documents, receipts, ledgers, and bank records inside their vehicles.9

       115.    As previously noted, Subject Vehicle 1 is a black Lexus SUV with a Massachusetts

license plate number of 1CPR39.10 As recently as January 31, 2021, I have witnessed OKUO



       9
          See, e.g., United States v. Osei, No. 1:21-cr-10064, ECF No. 11 at 2 (noting that in a
similar romance scam case, law enforcement agents obtained a search warrant for the defendant’s
car and inside found fake passports, cash, and money orders).
       10
         Although Subject Vehicle 1 is registered in the name of a person who resides in
Dorchester (at a previous address of OKUO and MUSAU), neither MUSAU nor OKUO has a
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driving this vehicle after exiting an ATM, and I have witnessed it parked outside the Subject

Premises on numerous occasions, including as recently as March 2021. Further, based on my

training and experience, perpetrators of fraudulent schemes commonly attempt to evade detection

by removing license plates from vehicles and placing them on new vehicles. The license plate on

Subject Vehicle 1 (1CPR39) was previously affixed to a red Toyota Prius, and surveillance

cameras captured MUSAU executing transactions in the accounts above on numerous occasions,

such as on or about June 21, 2020 and September 26, 2020 in the TD Adams account:




                             Fig. 27.1, 27.2: MUSAU transactions in TD
                             Adams account in vehicle with license plate
                              1CPR39 now affixed to Subject Vehicle 1

       116.   Subject Vehicle 2 is a green Toyota Camry with a license plate number of 5EA524.

As recently as January 2021, I witnessed OKUO drive Subject Vehicle 2 to a Citizens Bank ATM

in Roxbury, which he has used on previous occasions to withdraw funds from accounts in the

names of his aliases. Further, on or about December 29, 2020, OKUO was stopped by the Boston

Police in Roslindale while driving Subject Vehicle 2 and cited for operating without a valid



valid active driver’s license in Massachusetts, and therefore, they cannot have any vehicles
registered in their names.

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driver’s license. As recently as March 2021, I have witnessed Subject Vehicle 2 parked outside

the Subject Premises, the residence of OKUO and MUSAU, near Subject Vehicle 1. Further,

surveillance cameras captured OKUO executing transactions in the accounts above while driving

Subject Vehicle 2, such as on October 2, 2020 in the TD Adams account (see above).

                   SEIZURE OF COMPUTER EQUIPMENT AND DATA

       117.    There is probable cause to believe that electronic equipment was used to violate

federal law, and that the equipment will be found at the Subject Premises and the Subject Vehicles.

       118.    From my training and experience, and information provided to me by other agents,

I am aware that individuals frequently use computers to create and store records of their actions

by communicating about them through e-mail, instant messages, and updates to online social

networking websites; drafting letters; keeping their calendars; arranging for travel; storing

pictures; researching topics of interest; buying and selling items online; and accessing their bank,

financial, investment, utility, and other accounts online.

       119.    Further, based on my training, experience, and information provided by other law

enforcement officers, I know that many cellular phones (which are included in Attachment B’s

definition of “hardware”) can now function essentially as small computers.            Phones have

capabilities that include serving as a wireless telephone to make audio calls, digital camera,

portable media player, GPS navigation device, sending and receiving text messages and e-mails,

and storing a range and amount of electronic data. Examining data stored on devices of this type

can uncover, among other things, evidence of communications and evidence that reveals or

suggests who possessed or used the device.

       120.    From my training, experience, and information provided to me by other agents, I

am aware that individuals commonly store records of the type described in Attachment B in

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computer hardware, computer software, smartphones, and storage media.

       121.   Here, perpetrators communicated with romance scam victims on various dating

websites and social media applications. They also communicated with victims over e-mail, text

message, and other computer and smartphone applications like Skype and WhatsApp. Based on

my training, experience, and information provided by other law enforcement officers, I know that

romance scams often involve multiple conspirators. Some conspirators communicate with victims,

and others set-up accounts to receive and withdraw victim funds. Often, these conspirators

communicate with each other over e-mail or messaging applications to notify (i) the conspirators

communicating with victims of the bank account information, and (ii) the conspirators

withdrawing funds when to expect funds so that they can be withdrawn quickly.

       122.   Further, OKUO and MUSAU provided banks with various e-mail addresses in

opening the fraudulent bank accounts, including the OKUO Hotmail address. Based on my

training, experience, and information provided by other law enforcement officers, conspirators

involved in romance scams often use e-mail alerts from banks to track incoming wire transfers and

quickly withdraw funds.

       123.   Based on my training, experience, and information provided by other law

enforcement officers, I also understand that conspirators involved in romance scams frequently

store ledgers, account information, and fraud-related communications on their smartphones.

Below are photographs of OKUO using his smartphone while opening fraudulent bank accounts

and withdrawing funds from those accounts:




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                              Fig. 28: OKUO using smartphone while opening
                                 TD Terry account and withdrawing funds

       124.    Based on my knowledge, training, experience, and information provided to me by

other agents, I know that computer files or remnants of such files can be recovered months or years

after they have been written, downloaded, saved, deleted, or viewed locally or over the Internet.

This is true because:

               a.       Electronic files that have been downloaded to a storage medium can be

               stored for years at little or no cost.      Furthermore, when users replace their

               computers, they can easily transfer the data from their old computer to their new

               computer.

               b.       Even after files have been deleted, they can be recovered months or years

               later using forensic tools. This is so because when a person “deletes” a file on a

               computer, the data contained in the file does not actually disappear; rather, that data

               remains on the storage medium until it is overwritten by new data, which might not

               occur for long periods of time. In addition, a computer’s operating system may

               also keep a record of deleted data in a “swap” or “recovery” file.
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     c.     Wholly apart from user-generated files, computer storage media in

     particular, computers’ internal hard drives contain electronic evidence of how the

     computer has been used, what it has been used for, and who has used it. This

     evidence can take the form of operating system configurations, artifacts from

     operating system or application operation, file system data structures, and virtual

     memory “swap” or paging files. It is technically possible to delete this information,

     but computer users typically do not erase or delete this evidence because special

     software is typically required for that task.

     d.     Similarly, files that have been viewed over the Internet are sometimes

     automatically downloaded into a temporary Internet directory or “cache.” The

     browser often maintains a fixed amount of hard drive space devoted to these files,

     and the files are overwritten only as they are replaced with more recently viewed

     Internet pages or if a user takes steps to delete them.

     e.     Data on a storage medium can provide evidence of a file that was once on

     the storage medium but has since been deleted or edited, or of a deleted portion of

     a file (such as a paragraph that has been deleted from a word processing file).

     Virtual memory paging systems can leave traces of information on the storage

     medium that show what tasks and processes were recently active. Web browsers,

     e-mail programs, and chat programs store configuration information on the storage

     medium that can reveal information such as online nicknames and passwords.

     Operating systems can record additional information, such as the attachment of

     peripherals, the attachment of USB flash storage devices or other external storage

     media, and the times the computer was in use. Computer file systems can record

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     information about the dates files were created and the sequence in which they were

     created, although this information can later be falsified.

     f.     As explained herein, information stored within a computer and other

     electronic storage media may provide crucial evidence of the “who, what, why,

     when, where, and how” of the criminal conduct under investigation, thus enabling

     the United States to establish and prove each element or alternatively, to exclude

     the innocent from further suspicion. In my training and experience, information

     stored within a computer or storage media (e.g., registry information,

     communications, images and movies, transactional information, records of session

     times and durations, internet history, and anti-virus, spyware, and malware

     detection programs) can indicate who has used or controlled the computer or

     storage media. This “user attribution” evidence is analogous to the search for

     “indicia of occupancy” while executing a search warrant at a residence. The

     existence or absence of anti-virus, spyware, and malware detection programs may

     indicate whether the computer was remotely accessed, thus inculpating or

     exculpating the computer owner. Further, computer and storage media activity can

     indicate how and when the computer or storage media was accessed or used. For

     example, as described herein, computers typically contain information that log:

     computer user account session times and durations, computer activity associated

     with user accounts, electronic storage media that connected with the computer, and

     the IP addresses through which the computer accessed networks and the internet.

     Such information allows investigators to understand the chronological context of

     computer or electronic storage media access, use, and events relating to the crime

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     under investigation. Additionally, some information stored within a computer or

     electronic storage media may provide crucial evidence relating to the physical

     location of other evidence and the suspect. For example, images stored on a

     computer may both show a particular location and have geolocation information

     incorporated into its file data. Such file data typically also contains information

     indicating when the file or image was created. The existence of such image files,

     along with external device connection logs, may also indicate the presence of

     additional electronic storage media (e.g., a digital camera or cellular phone with an

     incorporated camera). The geographic and timeline information described herein

     may either inculpate or exculpate the computer user. Last, information stored

     within a computer may provide relevant insight into the computer user’s state of

     mind as it relates to the offense under investigation. For example, information

     within the computer may indicate the owner’s motive and intent to commit a crime

     (e.g., internet searches indicating criminal planning), or consciousness of guilt (e.g.,

     running a “wiping” program to destroy evidence on the computer or password

     protecting/encrypting such evidence in an effort to conceal it from law

     enforcement).

     g.     A person with appropriate familiarity with how a computer works can, after

     examining this forensic evidence in its proper context, draw conclusions about how

     computers were used, the purpose of their use, who used them, and when.

     h.     The process of identifying the exact files, blocks, registry entries, logs, or

     other forms of forensic evidence on a storage medium that are necessary to draw

     an accurate conclusion is a dynamic process. While it is possible to specify in

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               advance the records to be sought, computer evidence is not always data that can be

               merely reviewed by a review team and passed along to investigators. Whether data

               stored on a computer is evidence may depend on other information stored on the

               computer and the application of knowledge about how a computer behaves.

               Therefore, contextual information necessary to understand other evidence also falls

               within the scope of the warrant.

               i.      Further, in finding evidence of how a computer was used, the purpose of its

               use, who used it, and when, sometimes it is necessary to establish that a particular

               thing is not present on a storage medium. For example, the presence or absence of

               counter-forensic programs or anti-virus programs (and associated data) may be

               relevant to establishing the user’s intent.

       125.    Based on my knowledge, training, and the experience of other agents with whom I

have spoken, I am aware that in order to completely and accurately retrieve data maintained in

computer hardware, computer software or storage media, to ensure the accuracy and completeness

of such data, and to prevent the loss of the data either from accidental or programmed destruction,

it is often necessary that computer hardware, computer software, and storage media (“computer

equipment”) be seized and subsequently processed by a computer specialist in a laboratory setting

rather than in the location where it is seized. This is true because of:

               a.      The volume of evidence that storage media, such as hard disks, flash drives,

               CDs, and DVDs, can store the equivalent of thousands or, in some instances,

               millions of pages of information. Additionally, a user may seek to conceal evidence

               by storing it in random order or with deceptive file names. Searching authorities

               may need to examine all the stored data to determine which particular files are

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               evidence, fruits, or instrumentalities of criminal activity. This process can take

               weeks or months, depending on the volume of data stored, and it would be

               impractical to attempt this analysis on-site.

               b.      Technical requirements analyzing computer hardware, computer software

               or storage media for criminal evidence is a highly technical process requiring

               expertise and a properly controlled environment. The vast array of computer

               hardware and software available requires even computer experts to specialize in

               some systems and applications. Thus, it is difficult to know, before the search,

               which expert possesses sufficient specialized skill to best analyze the system and

               its data. Furthermore, data analysis protocols are exacting procedures, designed to

               protect the integrity of the evidence and to recover even “hidden,” deleted,

               compressed, or encrypted files. Many commercial computer software programs

               also save data in unique formats that are not conducive to standard data searches.

               Additionally, computer evidence is extremely vulnerable to tampering or

               destruction, both from external sources and destructive code imbedded in the

               system as a “booby trap.”

               c.      Consequently, law enforcement agents may either copy the data at the

               premises to be searched or seize the computer equipment for subsequent processing

               elsewhere.

       126.    The Subject Premises and Subject Vehicles may contain computer equipment

whose use in the crime or storage of the things described in this warrant is impractical to determine

at the scene. Computer equipment and data can be disguised, mislabeled, or used without the

owner’s knowledge. In addition, technical, time, safety, or other constraints can prevent definitive

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determination of their ownership at the premises during the execution of this warrant. If the things

described in Attachment B are of the type that might be found on any of the computer equipment,

this application seeks permission to search and seize it onsite or off-site in order to determine their

true use or contents, regardless of how the contents or ownership appear or are described by people

at the scene of the search.

       127.    The law enforcement agents will endeavor to search and seize only the computer

equipment which, upon reasonable inspection and/or investigation conducted during the execution

of the search, reasonably appear to contain the evidence in Attachment B because they are

associated with OKUO or MUSAU. For example, the agents will attempt to identify the cellular

phones belonging to OKUO and MUSAU by calling their cellular phone numbers during the

search, 617-318-8164 for OKUO and 857-269-8461 for MUSAU.                      If, however, the law

enforcement agents cannot make a determination as to use or ownership regarding any particular

device, or if it appears that OKUO or MUSAU have more than one cellular phone and/or computer,

the law enforcement agents will seize and search that device pursuant to the probable cause

established herein.

       128.    This warrant authorizes a review of electronic storage media seized, electronically

stored information, communications, other records and information seized, copied or disclosed

pursuant to this warrant in order to locate evidence, fruits, and instrumentalities described in this

warrant. The review of this electronic data may be conducted by any government personnel

assisting in the investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to this

warrant, law enforcement agents may deliver a complete copy of the seized, copied, or disclosed



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electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.

                    UNLOCKING DEVICES USING BIOMETRIC FEATURES

       129.    As discussed above, a review of photographs and records indicates that it is likely

that the Subject Premises and Subject Vehicles will contain at least one cellular phone belonging

to OKUO or MUSAU. I know from my training and experience, as well as from information

found in publicly available materials, that some models of cellular phones made by Apple and

other manufacturers offer their users the ability to unlock a device via the use of a fingerprint or

through facial recognition, in lieu of a numeric or alphanumeric passcode or password.

       130.    For example, on the Apple devices that have this feature, the fingerprint unlocking

feature is called Touch ID. If a user enables Touch ID on a given Apple device, he or she can

register up to 5 fingerprints that can be used to unlock that device. The user can then use any of

the registered fingerprints to unlock the device by pressing the relevant finger(s) to the device’s

Touch ID sensor. In some circumstances, a fingerprint cannot be used to unlock a device that has

Touch ID enabled, and a passcode must be used instead, such as: (1) when more than 48 hours has

passed since the last time the device was unlocked; and (2) when the device has not been unlocked

via Touch ID in 8 hours and the passcode or password has not been entered in the last 6 days.

Thus, in the event law enforcement encounters a locked Apple device, the opportunity to unlock

the device via Touch ID exists only for a short time. Touch ID also will not work to unlock the

device if: (1) the device has been turned off or restarted; (2) the device has received a remote lock

command; or (3) five unsuccessful attempts to unlock the device via Touch ID are made.

       131.    The passcode that would unlock the Apple iPhone or other devices found during

the search of the Subject Premises and Subject Vehicles is not currently known to law enforcement.

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Thus, it may be useful to press the finger(s) of the user(s) of to the device’s fingerprint sensor or

to hold the device up to the face of the owner in an attempt to unlock the device for the purpose of

executing the search authorized by this warrant. The government may not otherwise be able to

access the data contained on those devices for the purpose of executing the search authorized by

this warrant.

       132.     In my training and experience, the person who is in possession of a device or has

the device among his or her belongings at the time the device is found is likely a user of the device.

However, in my training and experience, that person may not be the only user of the device whose

fingerprints are among those that will unlock the device, and it is also possible that the person in

whose possession the device is found is not actually a user of that device at all. Furthermore, in

my training and experience, I know that in some cases it may not be possible to know with certainty

who is the user of a given device, such as if the device is found in a common area of a premises

without any identifying information on the exterior of the device. Thus, it may be necessary for

law enforcement to have the ability to require any occupant of the Subject Premises or Subject

Vehicles to press their finger(s) against the sensor of the locked device(s) or place the devices in

front of their faces in order to attempt to identify the device’s user(s) and unlock the device(s).

       133.     For these reasons, I request that the Court authorize law enforcement to press the

fingers (including thumbs) of individuals found at the Subject Premises or in the Subject Vehicles

to the sensor of the devices or place the devices in front of their faces for the purpose of attempting

to unlock the device in order to search the contents as authorized by this warrant.

                                          CONCLUSION

       134.     Based on my knowledge, training and experience, and the facts as set forth in this

affidavit, I have probable cause to believe and I do believe that OKUO and MUSAU committed

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conspiracy to commit wire and bank fraud, in violation of Title 18, United States Code, Section

1349, and that evidence fruits, and instrumentalities of the crimes described in Attachment B are

contained within the Subject Premises described in Attachment A-1 and within the Subject

Vehicles described in Attachment A-2 and Attachment A-3.

                                             Respectfully submitted,

                                                /s/ Brendan Cullen
                                             ____________________________
                                             Brendan Cullen, Special Agent
                                             Department of Homeland Security
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Subscribed and sworn to me telephonically on March __, 2021.

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The Honorable M. Page Kelley
Chief Magistrate Judge
United States District Court for the District of Massachusetts




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